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DECLARATION OF SCOUT STUBBS

1. My name is Scout Stubbs, and I am over the age of twenty-one, of sound
mind, and competent to execute this declaration.

2. I submit this declaration on behalf of Drippers Vape Shop, LLC
(“Drippers”), in support of plaintiffs’ motion for preliminary injunction.

3. I have personal knowledge of the facts set forth in this Declaration, or know
them in my capacity as president and managing member of Drippers, based on records
that Drippers keeps in the regular course of its business, and could and would
competently testify to them under oath if called as a witness.

4. Drippers is an Arkansas limited liability company with its principal place of
business located in Greenbrier, Arkansas.

5. Drippers is a retail store offering, among other things, low THC hemp
extract products to Arkansas consumers and businesses.

6. As a result of Act 629, Drippers and its employees and members are in
jeopardy of criminal prosecution for possessing, shipping, transporting, packaging,
processing, and retailing low THC hemp extract products in Arkansas.

a Drippers’ investment is exposed and threatened as Act 629 would render its
inventory of hemp-derived products utterly worthless in Arkansas.

8. Drippers would be irreparably harmed unless Act 629 is enjoined.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing

is true and accurate.

EXHIBIT

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Executed on this 315t day of July, 2023.

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Scout Stubbs
President and Managing Member
Drippers Vape Shop, LLC
